25 F.3d 1057NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    William HUTCHINSON, also known as William "Liam" Hutchinson,Plaintiff-Counterdefendant-Appellant,v.Declan O'DONNELL, P.C., and Declan O'Donnell, individually,Defendants-Appellees,andLeonard CARANNA, Defendant-Counterclaimant-Appellee.
    No. 93-1500.
    United States Court of Appeals, Tenth Circuit.
    May 5, 1994.
    
      ORDER AND JUDGMENT1
      Before MOORE, ANDERSON, and KELLY, Circuit Judges.
    
    
      1
      After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.  See Fed.R.App.P. 34(a);  10th Cir.R. 34.1.9.  This cause is therefore ordered submitted without oral argument.
    
    
      2
      We have examined the record and considered the arguments presented by the appellant, and conclude that the district court properly dismissed this action.  The judgment of the district court is AFFIRMED.  Appellant's pending motions are denied as moot.
    
    
      
        1
         This order and judgment is not binding precedent, except under the doctrines of law of the case, res judicata, and collateral estoppel.  The court generally disfavors the citation of orders and judgments;  nevertheless, an order and judgment may be cited under the terms and conditions of the court's General Order filed November 29, 1993.  151 F.R.D. 470
      
    
    